 Case: 1:19-cr-00567 Document #: 175 Filed: 09/28/21 Page 1 of 1 PageID #:841

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:19−cr−00567
                                                       Honorable Harry D. Leinenweber
Robert Sylvester Kelly, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 28, 2021:


       MINUTE entry before the Honorable Harry D. Leinenweber: Telephonic status
hearing set for 10/20/21 is vacated. Video status hearing is set for 10/20/21 at 10:30 a.m.
The Court orders all Defendants to appear via video conference. Counsel for the Parties to
meet and confer regarding a plan for Defendant Kelly to appear via video for the
conference. Counsel shall submit their plan to the Courtroom Deputy via email on or
before 10/13/21. Mailed notice(maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
